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  IT IS ORDERED as set forth below:



  Date: June 26, 2023
                                                  _____________________________________
                                                              James R. Sacca
                                                        U.S. Bankruptcy Court Judge

 _______________________________________________________________


                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                              § CASE NO. 23-50056-JRS
                                    §
NANCY CLARK AUSTIN,                 §
    Debtor.                         § CHAPTER 13
                                    §
____________________________________§

                                            ORDER

         Before the Court are U.S. Bank National Association’s Motion for Relief from Automatic

Stay (Doc #27) and the Debtor’s Objection to Claim No. 3 Filed by U.S. Bank National

Association (Doc #32). An evidentiary hearing was held on June 8, 2023, at which the Court

heard testimony from the Debtor, Debtor’s former spouse and a representative of Rushmore

Loan Management Services LLC, the loan servicer for U.S. Bank National Association.

After considering all the evidence, including the testimony of Debtor and Debtor’s ex-spouse,

and the documentary evidence, the Court finds the Debtor and her former spouse to be

credible and that the mortgage was paid in fully in August 2014. Accordingly, after review of

all relevant matters and evidence, and for the reasons more fully set forth in the oral ruling of

the Court of June 22, 2023, it is hereby
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       ORDERED that U.S. Bank National Association’s Motion for Relief from Automatic

Stay (Doc #27) is hereby DENIED, and it is hereby

       FURTHER ORDERED that Debtor’s Objection to Claim No. 3 Filed by U.S. Bank

National Association (Doc #32), as amended on May 30, 2023, is hereby GRANTED and the

claim is DISALLOWED.

       The Clerk of Court is directed to serve a copy of this Order on the Debtor, U.S. Bank

National Association, Counsel for U.S. Bank National Association, the United States

Trustee, and the Chapter 13 Trustee.
